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                 EXHIBIT B-055
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                                                                               FILED IN OFFICE



                  IN THE SUPERIOR COURT OF FULTON COUN·JE+-.;...:;.:i~~::::.:..:.:.~
                                                                                  _ _j
                              STATE OF GEORGIA


IN RE: SPECIAL PURPOSE
                                                 •
GRAND JURY

                                                 •      CASE NO. 2022-EX-000024



                                                 •

   REQUEST TO USE A RECORDING DEVICE PURSUANT TO RULE 22 ON
              RECORDING OF JUDICIAL PROCEEDINGS.

Pursuant to Rule 22 of the Uniform Rules for Superior Court regarding Use of
Electronic Devices in Courtrooms and Recording of Judicial Proceedings, the
undersigned    hereby requests    permission   to use a recording device in
Courtroom SD in order to [8Jrecord images and/or [8Jsound during all or
portions of the proceedings in the above captioned case/ calendar.

Consistent with the provisions of the rule, the undersigned desires to use the
following described recording device(s):   [8Jcomputer of any size, including a
tablet, a notebook, and a laptop; [8Jsmart phone, a cell phone or other wireless
phone; [8J camera and other audio or video recording devices D any similar
devices

The proceedings that the undersigned desires to record commence on (date and
time) Aug 9, 12:30pm. Subject to direction from the court regarding possible
pooled coverage, the undersigned wishes to use this device in the courtroom on
(date and time) Aug 9, 12pm


The personnel      who will be responsible           for the use of this recording device are:
(identify appropriate personnel or individual)
Jason Morris, Supervising Producer, CNN Atlanta
Nick Valencia, National Correspondent, CNN
CNN Photojournalist TBD


For questions or concerns email pio@fultoncountyga.gov                                      1
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The undersigned hereby certifies that the device to be used and the locations
and operation of such device will be in conformity with Rule 22 and any
guidelines issued by the court.

CNN
(News Agency/Media         Outlet/Law Firm/Individual       Representative)

Jason.morris@warnermedia.com
(Email Address)

404-536-7035
(Phone Number)

ORDER APPROVING/DISAPPROVING REQUEST:
         The request is:
               ~Approved


              The requesting agency:
                            be pool for its media
                      ~Shall    not be pool for its media
Under no circumstances is this rule to be construed as permission for filming,
recording, or photography in any other area of the courthouse or courtroom
other than that for which permission is given. The undersigned understands
and acknowledges that a violation of Rule 22 and any guidelines issued by the
court may be grounds for removal or exclusion from the courtroom and a
willful violation may subject the undersigned to penalties for contempt of court.

SO ORDERED this 8 th day of August 2022.




                     Judge of Superior Court of Fulton C
                              Atlanta Judicial Circuit


For questions or concerns email pio@lultoncountuqa.gov                         2
Rule 22 (Rev. 04/01/ 18)
